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DEBTOR(S):CFW Resources, LLC                                            CASE NO:                 19-17634

                                                     Form 2-B
                           CASH RECEIPTS AND DISBURSEMENTS STATEMENT
                                      For Period:   12/1/2019 to         12/31/2019


CASH FLOW SUMMARY                                                       Current
                                                                        Month                    Accumulated

1. Beginning Cash Balance                                      $                26,721 (1)   $        26,721 (1)

2. Cash Receipts
     Operations (a)                                                         61,894                    61,894
     Sale of Assets                                                              -                         -
     Loans/advances                                                              -                         -
     Collection of AR                                                      103,635                   103,365

     Total Cash Receipts                                       $           165,529           $       165,259

3. Cash Disbursements
     Operations                                                                      -                       -
     Debt Service/Secured loan payment                                               -                       -
     Professional fees/U.S. Trustee fees                                             -                       -
     Professional fees paid from retainer (e.g. COLTAF accts) (b)                    -                       -
     Other                                                                           -                       -

     Total Cash Disbursements                                  $                     -       $               -

4. Net Cash Flow (Total Cash Receipts less
       Total Cash Disbursements)                                           165,529                   165,529


5 Ending Cash Balance (to Form 2-C)                            $            192,250 (2)      $        192250 (2)

CASH BALANCE SUMMARY                                                                                Book
                                                        Financial Institution                      Balance

  DIP - CHECKING - 3423                             Wells Fargo                              $       192,249
  DIP Operating Account                                                                                      0

  DIP State Tax Account                                                                                      0
  DIP Payroll Account                                                                                        0
  Other Operating Account                                                                                    0
  Retainers held by professionals (i.e. COLTAF)                                                              0

  TOTAL (must agree with Ending Cash Balance above)                                          $        192249 (2)

(1) Accumulated beginning cash balance is the cash available at the commencement of the case and retainers.
    Current month beginning cash balance should equal the previous month's ending balance.
(2) All cash balances should be the same.
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Footnotes                                                                                 Rev. 01/01/2018
(a) Of total receipts for the month ended December 31,2019 $103,635 represents of previously outstanding
     accounts receivble $61,894 represents revenue that has been recorded in the PL.

(b)   Whereas All deposits and prepaids have been paid and recorded on the books of PetroShare Corp.
      and whereas the cases (PetroShare Corp and CFW Resources are jointly administered) value here
      is appropriately $0.
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DEBTOR(S):                     CFW Resources, LLC                                         CASE NO:             19-17634


                                                              Form 2-B
                                   CASH RECEIPTS AND DISBURSEMENTS STATEMENT
                                                       For Period:    12/1/2019      to       12/31/2019

CASH RECEIPTS DETAIL                                            Account No:                   1995813423
(attach additional sheets as necessary)

            Date                       Payer                                  Description                         Amount
               12/2/2019       VERDAD RESOURCES
                                           PDC                       REVENUE                                         6,719.33
               12/2/2019       VERDAD RESOURCES                      REVENUE                                            61.01
              12/10/2019       PSC (GWOC)                            REVENUE and Collection of AR                  151,903.32
              12/30/2019       PDC                                   REVENUE                                         6,845.09



                                                                     Total Cash Receipts                   $       165,528.75 (1)


(1) Total for all accounts should agree with total cash receipts listed on Form 2-B, page 1                    Rev. 01/01/2018


   AR OS at 11.30.2019               103,635
             12.31.2019             61,893.75     Revenue and or revenue suspense
   Total Cash Receipts               165,529      (ties to above)
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DEBTOR(S): CFW Resources, LLC                                                           CASE NO: 19-17634

                                                      Form 2-B
                          CASH RECEIPTS AND DISBURSEMENTS STATEMENT
                               For Period:    12/1/2019        12/31/2019



CASH DISBURSEMENTS DETAIL                                 Account No:                   #
(attach additional sheets as necessary)

      Date       Check No.               Payee                       Description (Purpose)                Amount
                                                                                                   $




                                                           Total Cash Disbursements                $                0 (1)



(1) Total for all accounts should agree with total cash disbursements listed on Form 2-B, page 1       Rev. 01/01/2018
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DEBTOR(S): CFW Resources, LLC                                                 CASE NO:                 19-17634

                                                    Form 2-C
                                      COMPARATIVE BALANCE SHEET
                                      For Period Ended:       12/31/2019
                                                                                   Current               Petition
                                                                                   Month                 Date (1)

 Cash (from Form 2-B, line 5)                                                 $      192,250       $        12,429
 Accounts Receivable (from Form 2-E)                                                       -               103,635
 Receivable from Officers, Employees, Affiliates                                           -                     -
 Inventory                                                                                 -                     -
 Other Current Assets :(List)    Intercompany                                        363,053               397,032
                                                                                           -                     -
    Total Current Assets                                                      $      555,303       $       513,096
Fixed Assets:
 Land                                                                         $              -     $                -
 Building                                                                                    -                      -
 Equipment, Furniture and Fixtures                                                           -                      -
    Total Fixed Assets                                                                       -                      -
 Less: Accumulated Depreciation                                               (              -   ) (                - )

    Net Fixed Assets                                                          $              -     $                -

 Other Assets (List):                                                                        -                      -
                                                                                             -                      -

    TOTAL ASSETS                                                              $      555,303       $       513,096


 Post-petition Accounts Payable (from Form 2-E)                               $              -     $                -
 Post-petition Accrued Professional Fees (from Form 2-E)                                     -                      -
 Post-petition Taxes Payable (from Form 2-E)                                                 -                      -
 Post-petition Notes Payable                                                                 -                      -
 Other Post-petition Payable(List): Revenue to be allocated                                  -                      -
                                                                                             -                      -

    Total Post Petition Liabilities                                           $              -     $                -

Pre Petition Liabilities:
 Secured Debt (a)                                                                 14,300,715             14,300,715
 Priority Debt                                                                             -                      -
 Unsecured Debt                                                                            -                  8,474

    Total Pre Petition Liabilities                                            $   14,300,715       $     14,309,189

    TOTAL LIABILITIES                                                         $   14,300,715       $     14,309,189


 Owner's/Stockholder's Equity                                                 $             -      $              -
 Retained Earnings - Prepetition                                                  (13,796,093)          (13,796,093)
 Retained Earnings - Post-petition                                                     50,681                     -

    TOTAL OWNERS' EQUITY                                                      $   (13,745,412)     $    (13,796,093)

    TOTAL LIABILITIES AND OWNERS' EQUITY                                      $      555,303       $       513,096
                                                                                             -
(1) Petition date values are taken from the Debtor's balance sheet as of the petition date or are the values
    listed on the Debtor's schedules.                                                                 Rev. 01/01/2018
Footnotes
(a) This amount represents the outstanding balance of the Sr. Secured Credit Facility, this has been presented
     herein as CFW Resources, LLC has been included as a guarantor
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DEBTOR(S):            CFW Resources, LLC                                                         CASE NO: 19-17634

                                                 Form 2-D
                                        PROFIT AND LOSS STATEMENT
                                        For Period         12/1/2019 to            12/31/2019

                                                                                   Current                   Accumulated
                                                                                   Month                       Total (1)

Gross Operating Revenue                                                      $        61,894             $          61894
Less: Discounts, Returns and Allowances (a)                              (                 0)            (              0)

       Net Operating Revenue                                             $            61,894             $          61894

Cost of Goods Sold                                                                           0                           0

       Gross Profit                                                      $                   0           $               0

Operating Expenses
   Officer Compensation                                                  $                   0           $               0
   Selling, General and Administrative                                                       0                           0
   Rents and Leases                                                                          0                           0
   Depreciation, Depletion and Amortization                                                  0                           0
   Other (list):    Production Taxes                                                         0                           0
                                                                                             0                           0

   Total Operating Expenses                                              $                   0           $               0

       Operating Income (Loss)                                           $                   0           $               0


Non-Operating Income and Expenses
   Other Non-Operating Expenses                                          $                   0           $               0
   Gains (Losses) on Sale of Assets                                                          0                           0
   Interest Income                                                                           0                           0
   Interest Expense                                                                          0                           0
   Other Non-Operating Income                                                                0                           0
   Net Non-Operating Income or (Expenses)                                $                   0           $               0

Reorganization Expenses
   Legal and Professional Fees                                           $                   0           $               0
   Other Reorganization Expense                                                              0                           0

   Total Reorganization Expenses                                         $                   0           $               0

       Net Income (Loss) Before Income Taxes                             $             61894             $          61894

Federal and State Income Tax Expense (Benefit)                                               0                           0

       NET INCOME (LOSS)                                                 $             61894             $          61894


(1) Accumulated Totals include all revenue and expenses since the petition date.
                                                                                                             Rev. 01/01/2018
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DEBTOR(S):                         CFW Resources, LLC                                                  CASE NO: 19-17634

                                                             Form 2-E (Page 1 of 2)
                                                           SUPPORTING SCHEDULES
                    For Period:            12/1/2019                       to                    12/31/2019

                                                    Summary of Post-Petition Taxes
                                                1                          2                           3                          4

                                      Unpaid post-petition        Post-petition taxes          Post-petition tax        Unpaid post-petition
                                        taxes from prior       accrued this month (new       payments made this       taxes at end of reporting
           Type of tax                reporting month(1)             obligations)              reporting month         month (columns 1+2-3)
Federal
Employee income tax withheld
Employee FICA taxes withheld
Employer FICA taxes
Unemployment taxes
Other:____________________
State
Sales, use & excise taxes
Unemployment taxes
Other:____________________
Local
Personal property taxes
Real property taxes
Other:____________________
                                                                                 Total unpaid post-petition taxes
(1) For first report, the beginning balance in column 1 will be $0; thereafter, beginning balance will be ending balance from prior report.

                                                    Insurance Coverage Summary (a)
                                                                                                                       Premium paid through
        Type of insurance             Insurance carrier        Coverage amount           Policy expiration date               date
Workers' compensation
General liability
Property (fire, theft, etc.)
Vehicle
Other (list):
Other (list):
If any policies were renewed or replaced during reporting period, attach new certificate of insurance.

(a) CFW is a wholly owned subsidiary of PetroShare Corp, see coverage summary at PetroShare Corp                             Page 1 of 2
    Monthly operating report                                                                                              Rev. 01/01/2018
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            DEBTOR(S): CFW Resources, LLC                                                     CASE NO: 19-17634

                                                      Form 2-E (Page 2 of 2)
                                                    SUPPORTING SCHEDULES
                For Period:                   12/1/2019               to                         12/31/2019


                               Accounts Receivable Aging Summary (attach detailed aging report)
                                     30 days or less           31 to 60 days              61 to 90 days             Over 90 days           Total at month end
Pre-petition receivables
Post-petition receivables
Total


                       Post-Petition Accounts Payable Aging Summary (attach detailed aging report)
                                     30 days or less           31 to 60 days              61 to 90 days             Over 90 days           Total at month end
Trade Payables
Other Payables
Total

                       SCHEDULE OF PAYMENTS TO ATTORNEYS AND OTHER PROFESSIONALS
                                      Month-end                    Current                   Paid in
                                        Retainer                  Month's                    Current              Court Approval               Month-end
                                        Balance                    Accrual                    Month                      Date                Balance Due *
Debtor's Counsel                 $                         $                         $                                                   $
Counsel for Unsecured
  Creditors' Committee
Trustee's Counsel
Accountant
Other:
Total                            $
*Balance due to include fees and expenses incurred but not yet paid.


                     SCHEDULE OF PAYMENTS AND TRANSFERS TO PRINCIPALS/EXECUTIVES**
        Payee Name                                   Position                                      Nature of Payment                             Amount
                                                                                                                                         $




**List payments and transfers of any kind and in any form made to or for the benefit of any proprietor, owner, partner, shareholder, officer, or director.
                                                                                                                                                Page 2 of 2
Footnotes                                                                                                                                    Rev. 01/01/2018
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    DEBTOR(S): CFW Resources, LLC                                                CASE NO: 19-17634


                                                         Form 2-F
                                                QUARTERLY FEE SUMMARY *
                                          For the Month Ended:    12/31/2019

                                                  Cash                         Quarterly                                       Date
Month               Year                     Disbursements **                  Fee Due           Check No.                     Paid

January                      $                                        0
February                                                              0
March                                                                 0

   TOTAL 1st Quarter         $                                        0$

April                        $                                        0
May                                                                   0
June                                                                  0

   TOTAL 2nd Quarter         $                                        0$

July                         $                                        0
August                                                                0
September                                                             0

   TOTAL 3rd Quarter         $                                        0$

October                      $                                     325 (a)               325               1502              11/13/2019 0:00
November                                                             0
December                                                             0

   TOTAL 4th Quarter         $                                     325 $


                                           FEE SCHEDULE (as of JANUARY 1, 2018)
                                    Subject to changes that may occur to 28 U.S.C. §1930(a)(6)
Quarterly Disbursements            Fee                                    Quarterly Disbursements                             Fee
$0 to $14,999.....................  $325                                  $225,000 to $299,999..................                 $1,950
$15,000 to $74,999.............     $650                                  $300,000 to $999,999.........................          $4,875
$75,000 to $149,999............. $975                                     $1,000,000 or more***.................      1% of quarterly
$150,000 to $224,999......... $1,625                                                                                 disbursements or
                                                                                                                  $250,000, whichever is
                                                                                                                 less (subject to change
                                                                                                                    after 9/30/2018)***

* This summary is to reflect the current calendar year's information cumulative to the end of the reporting period

** Should agree with line 3, Form 2-B. Disbursements are net of transfers to other debtor in possession bank accounts

*** For disbursements in excess of $1,000,000, this amount is subject to annual adjustment. Please refer to
     https://www.justice.gov/ust/chapter-11-quarterly-fees

Failure to pay the quarterly fee is cause for conversion or dismissal of the chapter 11 case. [11 U.S.C. Sec. 1112(b)(10)]
In addition, unpaid fees are considered a debt owed to the United States and will be assessed interest under 31 U.S.C. §3717
   Footnotes                                                                            Rev. 01/01/2018
   (a) This amount represents the payment of the September, 2019 quarterly fee. This amount
        was paid by PetroShare Corp on behalf of CFW, Resources as CFW does not have any check stock.
        It has been presented herein for presentation purposes, bt is not included in the CFW disbursements at cash rec.
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DEBTOR(S):CFW Resources, LLC                                              CASE NO: 19-17634

                                                Form 2-G
                                             NARRATIVE
                        For Period Ending: 12/31/2019

Please provide a brief description of any significant business and legal actions taken by the debtor, its creditors,
or the court during the reporting period, any unusual or non-recurring accounting transactions that are reported in
the financial statements, and any significant changes in the financial condition of the debtor which have occurred
subsequent to the report date.

On December 2, 2019, the Debtor duly conducted and concluded an auction for the sale of substantially all of
the Debor's assets pursuant to the order approving bid procedures. At the conclusion of the Auction, the
Debtors, in their business judgment and in consultation with the Consultation Parties, did not designate a
Prevailing Bidder and designated the Prepetition Secured Lenders to be the Backup Bidder. The Debtor did not
go forward with the Sale Hearing on December 4. At the final hearing on Debtor's Cash Collateral Motion, the
Debtors and interested parties agreed to an order extending Debtor's use of cash collateral to December 11,
2019 [Docket No. 338], which was further extended to December 17, 2019 [Docket No. 356] and December
19, 2019 [Docket No. 366]. The final order on Debtor's cash collateral motion was entered on December 24,
2019 [Docket No. 384]. On December 5, 2019, the Court entered an order authorizing Debtors to retain and
pay ordinary course professionals [Docket No. 346]. On December 11, 2019, Tasman Geosciences, M&M
Excavation, and Cartel Drilling filed an adversary proceeding against the prepetition secured lenders and
Debtor [AP No. 19-01362]. On December 20, 2019, Debtor filed its Joint Plan of Reorganization and Disclosure
Statement [Docket Nos. 373 and 374]. The Court denied the Debtor's request to expedite the disclosure
statement hearing and set a hearing on approval of the Disclosure Statement for January 31, 2020.




                                                                                                   Rev. 01/01/2018
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Analyzed Business Checking
Account number:                3423     ■   December 1, 2019 - December 31, 2019               ■    Page 1 of 2




                                                                                                   Questions?
                                                                                                   Available by phone 24 hours a day, 7 days a week:
                                                                                                    1-800-CALL-WELLS (1-800-225-5935)

CFW RESOURCES LLC                                                                                  Online: wellsfargo.com
9635 MAROON CIR STE 400
                                                                                                   Write: Wells Fargo Bank, N.A. (163)
ENGLEWOOD CO 80112-6149                                                                                   P.O. Box 6995
                                                                                                          Portland, OR 97228-6995




Account summary
Analyzed Business Checking
Account number                      Beginning balance                       Total credits                       Total debits             Ending balance
      3423                                 $26,720.58                       $165,528.75                               $0.00                $192,249.33


Credits
  Electronic deposits/bank credits
  Effective     Posted
  date          date                         Amount          Transaction detail
                12/02                       6,719.33         Deposit Made In A Branch/Store
                12/02                          61.01         Deposit Made In A Branch/Store
                12/10                     151,903.32         Online Transfer Great Western Revenue Pmt to Cfw Resources Ref
                                                             #Bb079Tlw38
                12/30                        6,845.09        Deposit Made In A Branch/Store
                                       $165,528.75           Total electronic deposits/bank credits

                                       $165,528.75           Total credits



Daily ledger balance summary
  Date                                    Balance       Date                                   Balance       Date                                Balance
  11/30                                 26,720.58       12/10                               185,404.24       12/30                            192,249.33
  12/02                                 33,500.92
                Average daily ledger balance                 $141,526.17




         IMPORTANT ACCOUNT INFORMATION

We may change the statement period and monthly fee period assigned to your account without advance notification. If
your account earns interest, these changes will not affect interest calculations, but they may affect the date we post
interest to your account.




      (163)
     Sheet Seq = 0002005
     Sheet 00001 of 00002
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Account number:                     3423   ■   December 1, 2019 - December 31, 2019            ■   Page 2 of 2




For all accounts except business analyzed checking, if the first new fee period created by our change is fewer than 25 days, the bank
will automatically waive the monthly service fee for that period.




NOTICE: Wells Fargo Bank, N.A. may furnish information about accounts belonging to individuals, including sole
proprietorships, to consumer reporting agencies. If this applies to you, you have the right to dispute the accuracy of
information that we have reported by writing to us at: Overdraft Collections and Recovery PO Box 5058 Portland, OR.
97208-5058. You must describe the specific information that is inaccurate or in dispute and the basis for any dispute with
supporting documentation. In the case of information that relates to an identity theft, you will need to provide us with an
identity theft report.




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       Sheet Seq = 0002006
       Sheet 00002 of 00002
